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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                      Debtors.
                                                                    Re: Docket No. 6467


        CERTIFICATION OF NO OBJECTION REGARDING TWELFTH MONTHLY
           AND FIFTH INTERIM APPLICATION OF BERKELEY RESEARCH
           GROUP, LLC FOR COMPENSATION FOR SERVICES RENDERED
          AND REIMBURSEMENT OF EXPENSES INCURRED AS FINANCIAL
           ADVISORS TO THE OFFICIAL TORT CLAIMANTS’ COMMITTEE
         FOR THE PERIOD FROM FEBRUARY 1, 2021 THROUGH APRIL 30, 2021
                           (NO ORDER REQUIRED)

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Twelfth Monthly and Fifth Interim

Application of Berkeley Research Group, LLC for Compensation for Services Rendered and

Reimbursement of Expenses Incurred as Financial Advisors to the Official Tort Claimants’

Committee for the Period from February 1, 2021 through April 30, 2021 (the “Application”)

filed on October 1, 2021 [Docket No. 6467]. The undersigned further certifies that the Court’s

docket in this case has been reviewed and no answer, objection or other responsive pleading to

the Application appears thereon. Pursuant to the notice of Application, objections to the

Application were to be filed and served no later than October 15, 2021 at 4:00 p.m. prevailing

Eastern Time.




1  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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                 Pursuant to the Order (I) Approving Procedures for (A) Interim Compensation

and Reimbursement of Expenses of Retained Professionals and (B) Expense Reimbursement for

Official Committee Members and (II) Granting Related Relief [Docket No. 341] entered on April

6, 2020, the Debtors are authorized to pay Berkeley Research Group, LLC $1,097,367.60 which

represents 80% of the fees ($1,371,709.50) and $0.00 which represents 100% of the expenses

requested in the Application, for the period from February 1, 2021 through April 30, 2021, upon

the filing of this Certification and without the need for entry of a Court order approving the

Application.

Dated: March 16, 2022                         PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ James E. O’Neill
                                              Richard M. Pachulski (CA Bar No. 90073)
                                              Alan J. Kornfeld (CA Bar No. 130063)
                                              Debra I. Grassgreen (CA 169978)
                                              Iain A.W. Nasatir (CA Bar No. 148977)
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